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                         IN THE UNITED STATES DISTRICT                                     NOV       12019
                        COURT FOR THE WESTERN DISTRICT                                CLER.k LLS.   D3i   JCLERK
                         OF TEXAS SAN ANTONIO DIVISION


 UNITED STATES OF AMERICA,                                   ICTMENT
         Plaintiff,                                   CRIM2NCRO 7                           7
 V.                                                   COUNT 1: 21:846, 841(a)(l) &
                                                      841 (b)( 1 )(A)(viii) - Conspiracy to Possess
 JOSE ANGEL HERNANDEZ,                               Methamphetamine with Intent to Distribute;
                                                     COUNT2: 21:841(a)(1)&
         Defendant.                                   841 (b)( 1 )(A)(viii) - Possession with Intent
                                                     to Distribute Methamphetamine.




THE GRAND JURY CHARGES:


                                        COUNT ONE

                              (21 U.S.C. § 846, & 841(a)(1) &
                                     841 (b)( 1 )(A)(viii))

        That on or about October 3, 2019, in the Western District of Texas, Defendant,

                               JOSE ANGEL RERNANDEZ

knowingly, intentionally, and unlawfully conspired, combined, confederated and agreed

with others known and unknown to the Grand Jury, to commit offenses against the United

States, in violation of Title 21, United States Code, Section 846, that is to say, they

conspired to possess a controlled substance, which offense involved methamphetamine, a

Schedule II Controlled Substance, with intent to distribute same, contrary to Title 21,

United States Code, Section 841 (a)( 1) in the quantities set forth below:

QUANTITY OF              CONTROLLED             SUBSTANCE           INVOLVED          IN     THE
CONSPIRACY


                                                1
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           The quantity of methamphetamine involved in the conspiracy and attributable to

 each Defendant as a result of each Defendant's own conduct and as a result of the conduct

 of other conspirators reasonably foreseeable to each Defendant is as follows:

           DEFENDANT                       QUANTITY                          STATUTE

 JOSE ANGEL                       500 grams or more of a             21:846, 841(a)(l) &
 HERNANDEZ                        mixture or substance               841(b)(l)(A)(viii)
                                  containing a detectable
                                  amount of methamphetamine

All in violation of Title 21, United States Code, Sections 846.

       Before the defendant committed the offense charged in this count, the defendant was

convicted of Importation of Methamphetamine, a serious drug felony, for which he served

more than 12 months of imprisonment and for which he was released from serving any term

of imprisonment related to that offense within   15   years of the commencement of the instant

offense.

                                       COUNT TWO

                                 (21 U.S.C. § 841(a)(l) &
                                     841 (b)( 1 )(A)(viii))

       That on or about October 3, 2019, in the Western District of Texas, Defendant,

                              JOSE ANGEL HERNANDEZ,

knowingly and intentionally possessed with intent to distribute a controlled substance,

which offense involved 500 grains or more of a mixture or substance containing a

detectable amount of methamphetamine, a Schedule II Controlled Substance, in violation of

Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(A)(viii).

       Before the defendant committed the offense charged in this count, the defendant was

convicted of Importation of Methamphetamine, a serious drug felony, for which he served

more than 12 months of imprisonment and for which he was released from serving any term
                                                 2
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of imprisonment related to that offense within   15   years of the commencement of the instant

offense.



                                          A TRUE BILL.
                                                                        I    I



                                               FORRSON OF THE GRXEJURY

     John F. Bash
     United State A o

      BY:
            Daphne . Ne az
            Assistant United States Attorney
